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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    DOUGLAS J. BEEVERS, #288639
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814
5    Attorney for Defendant
     ANGEL PANTOJA-LOPEZ
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7
8                              IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    )   NO. 2:11-CR-00419 TLN
                                                  )
12                          Plaintiff,            )   STIPULATION AND ORDER
                                                  )   TO CONTINUE STATUS CONFERENCE
13          v.                                    )
                                                  )   DATE: January 9, 2014
14   ANGEL PANTOJA-LOPEZ, et al.,                 )   TIME: 9:30 AM
                                                  )   JUDGE: Hon. Troy L. Nunley
15                          Defendant.            )
                                                  )
16
17           IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, MATTHEW MORRIS, Assistant United States Attorney, attorney for
19   Plaintiff, DINA SANTOS, attorney for defendant SARAVY YEM, and DOUGLAS BEEVERS,
20   attorney for defendant ANGEL PANTOJA-LOPEZ that the status conference hearing date of
21   December 12, 2013 be vacated, and the matter be set for status conference on January 9, 2014 at
22   9:30 a.m.
23           The reason for this continuance is to allow defense counsel additional time to continue to
24   research guideline issues and review discovery, including numerous DVD’s which appear to be
25   surveillance videos, discuss the case with the government, pursue investigation, and to negotiate
26   a resolution to this matter.
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     !Unexpected   End of Formula
      U.S. v. Pantoja-Lopez                           -1-
      Stipulation and Order
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1           Based upon the foregoing, the parties agree that the time under the Speedy Trial Act
2    should be excluded from the date of signing of this order through and including January 9, 2014
3    pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code
4    T4 based upon continuity of counsel and defense preparation.
5    Dated: December 10, 2013                             Respectfully submitted,
6                                                         HEATHER E. WILLIAMS
                                                          Federal Defender
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                                                          /s/ Douglas Beevers
8                                                         DOUGLAS BEEVERS
                                                          Assistant Federal Defender
9                                                         Attorney for Defendant
                                                          ANGEL PANTOJA-LOPEZ
10
11   Dated: December 10, 2013                             /s/ Dina Santos
                                                          DINA SANTOS
12                                                        Attorney for Defendant
                                                          SARAVY YEM
13
14   Dated: December 10, 2013                             BENJAMIN B. WAGNER
                                                          United States Attorney
15
                                                          /s/ Matthew Morris
16                                                        MATTHEW MORRIS
                                                          Assistant United States Attorney
17                                                        Attorney for Plaintiff
18
19                                             ORDER
20          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
21   December 12, 2013, status conference hearing be continued to January 9, 2014, at 9:30 a.m.
22   Based on the representation of defense counsel and good cause appearing there from, the Court
23   hereby finds that the failure to grant a continuance in this case would deny defense counsel
24   reasonable time necessary for effective preparation, taking into account the exercise of due
25   diligence. The Court finds that the ends of justice to be served by granting a continuance
26   outweigh the best interests of the public and the defendant in a speedy trial. It is ordered that
27   time up to and including the January 9, 2014 status conference shall be excluded from
28   computation of time within which the trial of this matter must be commenced under the Speedy

     !Unexpected   End of Formula
      U.S. v. Pantoja-Lopez                         -2-
      Stipulation and Order
       Case 2:11-cr-00419-TLN Document 67 Filed 12/12/13 Page 3 of 3


1    Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow
2    defense counsel reasonable time to prepare.
3    IT IS SO ORDERED.
4    DATED: December 11, 2013
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7                                             Troy L. Nunley
                                              United States District Judge
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     !Unexpected   End of Formula
      U.S. v. Pantoja-Lopez                        -3-
      Stipulation and Order
